                      UNITED STATES DISTRICT COURT
                         Eastern District of Wisconsin


JACOB S. BLAKE, JR.,

                    Plaintiff,

      v.                                                     Case No. 21-cv-381

OFFICER RUSTEN T. SHESKEY, INDIVIDUALLY

                    Defendants.


  STIPULATION TO DISMISS PURSUANT TO FEDERAL RULE OF
              CIVIL PROCEDURE 41(a)(1)(A)(ii)


       IT IS HEREBY STIPULATED AND AGREED by and between the parties

to the above-entitled cause, through their respective attorneys, that this cause be

dismissed with prejudice without costs or fees to either party, pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii) and 41(a)(1)(B).



Entered:______________________

                                        By:___________________________________
                                             Judge

Approved and Agreed.

 s: Patrick A. Salvi, II                     s: Kenneth M. Battle_____________________
 Attorney for Plaintiff                      Attorney for Defendant, Officer Rusten T.
 Patrick A. Salvi, II                        Sheskey, Individually
 SALVI, SCHOSTOK & PRITCHARD P.C.            Kenneth M. Battle
                                             O’Connor & Battle, LLP




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